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         In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * ** *
                                      *
  RICHARD K. PHIPPS,                  *
                  Plaintiff,          *
                                      *
           v.                           No. 14-4245L
                                      *
                                        Filed: December 1, 2017
                                      *
  UNITED STATES,                      *
                  Defendant.          *
                                      *
   * * * * * * * * * * * * * * * * ** *
                                  ORDER

       On December 9, 2015, the issued an order of dismissal for plaintiff’s claims
associated with parcel identification number 05005007200000. On December 1, 2017,
the parties in case number 14-424L filed a joint stipulation of dismissal with prejudice,
which stated in part, “on September 30, 2017, the parties entered into a Settlement
Agreement resolving all claims in this case that had not previously been resolved either
by the Court’s summary judgment ruling, ECF No. 46, or as a result of the notice of
dismissal filed by Plaintiffs.” (internal reference omitted). The stipulation of dismissal also
provided that “all claims in the above-captioned action are voluntarily dismissed pursuant
to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with prejudice.” As a result of the
stipulation and pursuant to Rule 41(a)(1) of the Rules of the United States Court of
Federal Claims (2017), this court ORDERS that this case be DISMISSED with prejudice.
The Clerk’s Office shall enter JUDGMENT consistent with this Order.

       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
